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ln rt C",r,n1n (:ilv H�ahhc-u5. U..C d/b/n. J-bhnem;111n Unh•f'rdh HMplltl ,., uL                                                                                                                                                                           Case No. 19-11466 (KG)
Deblors                                                                                                                                                                                                                   Reporting Period: Au:ust I, 2019 - Au:ust 31. 2019


Statement, of locome ( unaudited) 1


                                                                                                                                                                       StChris Care                                                       Philadelphia
                                            Center City          St. Christopher's              TPSIV                  TPS III                SCHC Pediatric           at Northeast             TPS II              TPSV                Academic Health          Consolidated
                                           Hcahhcu� UC           .li('11hhf.11n-. LLC        of PA. L.LC.'          ofP \. L..I...C.'        Associa1cs.. LL.C. �    Pcd1n1.rirt.. LLC.       ofP,\.LLC'          ofPA.LLC               S)':Stdll. LLC 1        Entities Total

Net patient revenue1                                $815.654             Sl8,I I l.808               $144.079                   $17.741                $2.837.869               $208.560             $21.229            $477,830                                       $22.634,770
Other revenue                                        }707119                �.SI 1.921                m.1s-                      41.f>JJ                ::!,)78,SU                1�.748             ..19! 1"11                                        l60              S,,,6-ql.�4
                Net revenue                       1,186,443               20,923,729                 717,266                    60,374                 5,216.712                224.308              5 19,427           477,830                       360              $29,326,449
Operating charges:
Sa1aries, wages and benefits                       8,821.401                7.737,546               1.080,721                    44,945                 7,068,835                141.256             453,316             184,496                   446,627             25.979,143
Supp1ies expense                                      40,592                3,271,187                    2,753                      567                    76,252                 22 264                   132            138.231                    5,466               3,557,444
Other controllable expenses                       10,944.116                6,203.835                 298,962                    43.546                 1.436,673                 47,274                 87.420            84,007                3.529.483              22.675.316
Non�ntrollable expenses                            1,485,874                1.646.939                 123.160                    34.143                  547,103                  19.448                 13,807           12,125                    21,363               3,903,962
EHR lncentive
          Tota1 operating expenses                :1,191,98,               1S,S�9.S07                Ulli..:,-V6                l::.J.�OJ               �.11�.s1,;               no.:.1�              5>-4675            418,859                 4.00:.939              �b.115.1165
                EBITDA                          (20, l 05,539)             2.064.221                (788.329)                  (62,827)               (3,912,150)                 (5,935)            (35,248)             58,970                (4,002.579)           (26,789,416)
Depreciation and amorriz.arion                                                                                                                            65,893                    956                                      198                                           67.047
Interest expense                                       8,896                    3,624                        88                         50                   712                    103                    105               392                  584,036                 598,006
Other non-operating revenue                               -----
            PRE-TAX INCOME             s        {20.ll•AJSJ S              1.060�7       s           nSS. J JTf S              (62.876)               13.978.7.56)_S              {6.994) S          {35-i53) S           5S.380    s           !4.SS6.615J S         (Z"AS4a46'

l -The balance sheets and statements of income presented herein reflect the unadjusted operations of Philadelphia Academic Hea]th System,LLC ("PAHS") Only 9 of the 14 debtor entities are shown in the consolidated financials The other debtor entities roll up to the listed
debtor en1ities exp1ained in the below notes
2 - Intercompany transactions are subject to offsetting revenue and expense elimination between affiliates
3 -TPS of PA.LL C does not repon financials; however, has leasehold interests reported on respective subsidiary entities
4 - Includes consolidated subsidiary debtor entities: St Christopher's Pedianic UrgentCareCenter,LL C and SCHC Pediatric Anesthesia Associates.LL C
5 - Includes consolidated subsidiary debtor entities RPS of PALL C and Philadelphia Academic Medical Associates
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